Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29397 Filed 08/04/16 Page 1 of 8




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                 Criminal No. 2:11-cr-20129
                     Plaintiff,
                                                 Honorable Robert H. Cleland
 vs.

 D-13, GARY LEE NELSON,

                Defendant.
 ________________________________/

                   PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, a Third Superseding Indictment was filed on or about July 13,

 2012, which charged Defendant Gary Lee Nelson with violating 18 U.S.C.

 §1962(d) (Count One: Racketeer Influenced Corrupt Organization-Conspiracy).

       WHEREAS, on September 25, 2014, Defendant Gary Lee Nelson

 (“Defendant”) entered into a Rule 11 Plea Agreement, wherein he pled guilty to

 violating 18 U.S.C. §1962(d) as alleged in Count One of the Third Superseding

 Indictment.

       WHEREAS, in his Rule 11 Plea Agreement and pursuant to 18 U.S.C. §

 1963(a)(1)-(3), Defendant agreed to the forfeiture of (a) any and all interest

 Defendant has acquired or maintained in violation of 18 U.S.C. ' 1962; (b) any and

 all interest in, security of, claim against, or property or contractual right of any

 kind affording a source of influence over any Enterprise named and described in
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29398 Filed 08/04/16 Page 2 of 8




 Count One of the Third Superseding Indictment which Defendant established,

 operated, controlled, conducted or participated in the conduct of, in violation of 18

 U.S.C. ' 1962; and (c) any and all property constituting, or derived from, any

 proceeds obtained, directly or indirectly, from racketeering activity in violation of

 18 U.S.C. ' 1962, including the following:

       (a)    Devils Diciples plaque (1B Item 873);

       (b)    Devils Diciples chrome trophy marked “2006” (1B Item 875);

       (c)    Devils Diciples street sign (1B Item 876);

       (d)    Devils Diciples Blue Water mirror, wooden (1B Item 877);

       (e)    Devils Diciples paperwork and photographs (1B Item 878);

       (f)    Gray duffel bag with two Devils Diciples shirts and Devils
              Diciples vest with Devils Diciples patches (1B Item 879);

       (g)    Gray duffel bag, “Slick Rick” with two Devils Diciples flags and
              two Devils Diciples tee shirts (1B Item 880);

       (h)    Eleven framed Devils Diciples pictures, three wooden plaques,
              medal Devils Diciples emblem, National By-Law and Chapter
              list (1B Item 881);

       (i)    Thirteen Devils Diciples plaques (1B Item 882);

       (j)    Gray crate with Devils Diciples clock, two Devils Diciples tee
              shirts, numerous Devils Diciples patches, Devils Diciples belt
              buckle, leather, Devils Diciples cup, Devils Diciples headband
              and Devils Diciples vest with misc. Devils Diciples patches
              (1B Item 884);

       (k)    Devils Diciples mug (cracked) (1B Item 886);


                                           2
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29399 Filed 08/04/16 Page 3 of 8




       (l)    F.T.W. patch (1B Item 888);

       (m)    Two motorcycle helmets with Devils Diciples stickers (1B Item 889);

       (n)    Two Devils Diciples hats and Devils Diciples stickers (1B Item 890);
              and

       (o)    One Devils Diciples jacket, nylon (1B Item 891)

 (hereinafter referred to as the “Subject Property”).

       WHEREAS, in his Rule 11 Plea Agreement, Defendant agreed to the

 Court’s entry of a Preliminary Order of Forfeiture incorporating the forfeiture of

 the Subject Property and agreed that the forfeiture order would become final as to

 Defendant at the time it is entered.

       NOW, THEREFORE, pursuant to 18 U.S.C. ' 1962 and Fed.R.Crim.P. 32.2,

 and based upon Defendant’s guilty plea to Count One of the Third Superseding

 Indictment, the contents of Defendant’s Rule 11 Plea Agreement, the

 Government’s Application for Entry of Preliminary Order of Forfeiture, and other

 information in the record, IT IS HEREBY ORDERED, ADJUDGED AND

 DECREED THAT:

    1. Defendant shall forfeit to the United States (a) any and all interest Defendant

       has acquired or maintained in violation of 18 U.S.C. ' 1962; (b) any and all

       interest in, security of, claim against, or property or contractual right of any

       kind affording a source of influence over any Enterprise named and

       described in Count One of the Third Superseding Indictment which
                                           3
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29400 Filed 08/04/16 Page 4 of 8




       Defendant established, operated, controlled, conducted or participated in the

       conduct of, in violation of 18 U.S.C. ' 1962; and (c) any and all property

       constituting, or derived from, any proceeds obtained, directly or indirectly,

       from racketeering activity in violation of 18 U.S.C. ' 1962, which includes

       the Subject Property.

    2. Pursuant to 18 U.S.C. § 1963(a)(1)-(3), the Subject Property IS HEREBY

       FORFEITED to the United States for disposition according to law, and any

       right, title or interest of Defendant, and any right, title or interest that his

       heirs, successors, or assigns, have or may have in the Subject Property IS

       HEREBY AND FOREVER EXTINGUISHED.

    3. The Court has determined, based upon the information and agreements

       contained in Defendant’s Rule 11 plea agreement, and other information in

       the record, that there is a sufficient nexus between the Subject Property and

       Defendant’s offense.

    4. As agreed in Defendant’s Rule 11 plea agreement, Defendant shall not

              a)     Contest, or assist anyone else in contesting, the forfeiture of all

       of the firearms, silencers and ammunition, U.S. Currency, motorcycles, slot

       machines, tools, computers, thumb drives, laptops, cameras, monitors,

       electronic equipment, “Colors” including but not limited to center wheel,

       vests, pins and patches, clothing, merchandise, jewelry, paraphernalia, and


                                             4
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29401 Filed 08/04/16 Page 5 of 8




       other personal property bearing any Devil’s Diciples’ labeling, markings,

       logos or symbols, that were seized in connection with the investigation of

       this case, as well as those seized in connection with the investigation and

       prosecution of United States v. Jeff Garvin Smith, et. al., Case No. 11-20066,

       United States District Court, Eastern District of Michigan, in any forfeiture

       action or proceeding.

             b)     Contest, or assist anyone else in contesting, the forfeiture of the

       real properties that are the subject of the following civil actions: United

       States v. One Parcel of Real Property Known as 43653 Gratiot, Clinton

       Township, Michigan, Case No. 09-cv-11208 and United States v. One Parcel

       of Real Property Known as 2424 Little Street, Port Huron, Michigan, Case

       No. 09-cv-11212, United States District Court, Eastern District of Michigan.

             c)     Contest, or assist anyone else in contesting, the forfeiture of all

       Devil’s Diciples’ websites, markings, service marks, trademarks, names and

       “Colors,” in any forfeiture action or proceeding.

             d)     Contest the forfeiture of, or file a petition or claim in

       connection with, any property that the government seeks to forfeit from any

       other defendant in this case, and from any defendant in United States v. Jeff

       Garvin Smith, et. al., Case No. 11-20066, United States District Court,

       Eastern District of Michigan.


                                           5
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29402 Filed 08/04/16 Page 6 of 8




    5. This Order shall become final as to Defendant at the time it is entered and

       the forfeiture shall be made part of Defendant’s sentence and included in

       Defendant’s Judgment.

    6. Upon entry of this Preliminary Order of Forfeiture, the United States

       Attorney General or his designee is authorized to commence any applicable

       proceeding to comply with the statutes governing third party rights,

       including giving notice of this Order.

    7. Pursuant to 18 U.S.C. § 1963(l), the United States shall publish notice of this

       Preliminary Order of Forfeiture and of its intent to dispose of the Subject

       Property in such manner as the Attorney General may direct on

       www.forfeiture.gov for at least thirty (30) consecutive days. Said notice

       shall direct that any person, other than the Defendant, asserting a legal

       interest in the Subject Property, may file a petition with the Court within

       thirty (30) days of the final publication of notice or of receipt of actual

       notice, whichever is earlier. The petition shall be for a hearing before the

       Court alone, without a jury and in accordance with 18 U.S.C. § 1963(l)(2),

       to adjudicate the validity of the petitioner’s alleged interest in the Subject

       Property. Pursuant to 18 U.S.C. § 1963(l)(3), any petition filed by a third

       party asserting an interest in the Subject Property must be signed by the

       petitioner under penalty of perjury and must set forth the nature and extent


                                            6
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29403 Filed 08/04/16 Page 7 of 8




       of the petitioner’s alleged right, title or interest in the Subject Property, the

       time and circumstances of the petitioner’s acquisition of the right, title, or

       interest in the Subject Property, any additional facts supporting the

       petitioner’s claim, and the relief sought. Pursuant to 18 U.S.C. § 1963(l)(1),

       the United States may also, to the extent practicable, provide direct written

       notice to any person or entity known to have an alleged interest in the

       Subject Property.

    8. The United States is hereby authorized, pursuant to 18 U.S.C. § 1963(k) and

       Federal Rules of Criminal Procedure 32.2 (c), to conduct any discovery in

       the ancillary proceeding in accordance with the Federal Rules of Civil

       Procedure upon a showing that such discovery is proper and desirable.

    9. Pursuant to 18 U.S.C. § 1963(l)(7), following the Court’s disposition of any

       petitions for ancillary hearing, or, if none, following the expiration of the

       period provided in 18 U.S.C. § 1963(l)(2) for the filing of third party

       petitions, the United States shall have clear title to the Subject Property, all

       other interests in the Subject Property shall be FORFEITED to the United

       States, this Order shall become the Final Order of Forfeiture as provided by

       Federal Rule of Criminal Procedure 32.2(c)(2), and the United States shall

       be authorized to dispose of the Subject Property as prescribed by law.




                                            7
Case 2:11-cr-20129-RHC-EAS ECF No. 1929, PageID.29404 Filed 08/04/16 Page 8 of 8




    10. The Court retains jurisdiction to enforce this Order, and to amend it as

       necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED.



                                        s/Robert H. Cleland
 Dated: August 4, 2016                  HONORABLE ROBERT H. CLELAND
                                        United States District Judge




                                           8
